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                            UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________
                                             :
SB PB VICTORY, LP,                           :
                                             :    CIVIL ACTION NO. ________
                            Petitioner,      :
                                             :    Document Electronically Filed
         v.                                  :
                                             :
TONNELLE NORTH BERGEN, LLC                   :
329 S. Main Street, Suite B                  :
Doylestown, PA 18901                         :
                                             :
Thomas F. Verrichia                          :
329 South Main St., Suite B                  :
Doylestown, PA 18901                         :
                                             : VERIFIED PETITION TO CONFIRM
                            Respondent.      :    ARBITRATION AWARD
_______________________________________      :

       Petitioner, SB PB VICTORY, LP., by and through its undersigned attorneys, Reed Smith

LLP, hereby submits this Verified Petition to Confirm Arbitration Award, and in support thereof

avers as follows:

                                           PARTIES

       1.      Petitioner, SB PB Victory, L.P., a Texas limited partnership, has an office located

at 301 Commerce, Suite 3200 Fort Worth, TX 76102.

       2.      Respondent, Tonnelle North Bergen LLC (“Tonnelle”) is a limited liability

company duly organized under the laws of the State of New Jersey, with a last known mailing

address of 329 S. Main Street, Suite B, Doylestown, PA 18901.

       3.      Respondent, Thomas F. Verrichia (“Verrichia”) is a natural person having an

address of 329 South Main St., Suite B, Doylestown, PA 18901.

                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332.
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       5.      The parties in this matter are citizens of different states, and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

       6.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) as this is the

district where Tonnelle and Verrichia both reside.

                                     BACKGROUND FACTS

       7.      This is a petition to confirm an arbitration award (“Final Award”) governed by the

Federal Arbitration Act and awarded pursuant to the terms of a contract between Petitioner and

Respondent.

       8.      On or about August 30, 2019, Tonnelle executed that certain Promissory Note

(the “Note”) and Construction Loan Agreement (the “Loan Agreement”) in favor of Petitioner in

the amount of $17,221,780.00 (the “Loan”), pursuant to which Tonnelle agreed to and became

obligated for the payment of certain amounts of principal and interest as more fully described

therein.

       9.      Concurrent with the Note, Thomas F. Verrichia executed and delivered Guaranty

Agreement (the “Guaranty,” and collectively with the Note, the Loan Agreement, the Mortgage

(as hereinafter defined) and all other documents executed in connection the Loan, the “Loan

Documents”) in favor of Petitioner.

       10.     As security for the obligations under the Note, Tonnelle executed that certain Fee

and Leasehold Mortgage Assignment of Rents and Security Agreement and Fixture Filing dated

as of August 30, 2019 (the “Mortgage”), pursuant to which, Tonnelle granted Petitioner a

mortgage lien on and security interest in all of Tonnelle’s right, title and interest in and to the

Mortgaged Premises and personal property located at the Mortgaged Premises and which

contains the metes and bounds description of the Mortgaged Premises as set forth on the attached
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Exhibit A which was recorded in the Land Records for Hudson County on September 19, 2019 at

Book 19461, page 982, et seq.    A true and correct copy of the Mortgage is attached hereto and

incorporated by reference as Exhibit A.

       11.     Section 8.14 of the Mortgage contains a binding arbitration clause binding the

parties a follows:

       8.14 Arbitration. Mortgagor hereby agrees that all disputes, claims and
       controversies between the undersigned or between the undersigned and any lender
       or the holder of this instrument, whether individual, joint, or class in nature,
       arising from this instrument, or any document executed in connection herewith or
       otherwise, including without limitation contract and tort disputes, shall be
       arbitrated pursuant to the Rules of the American Arbitration Association, upon
       request of any party. No act to take or dispose of any collateral securing the
       Note or covered by this instrument shall constitute a waiver of this arbitration
       provision or be prohibited by the arbitration provision. This includes, without
       limitation, obtaining injunctive relief or a temporary restraining order; obtaining a
       writ of attachment or imposition of a receiver; or exercising any rights relating to
       personal property, including taking or disposing of such property with or without
       judicial process pursuant to Article 9 of the Code. Any disputes, claims, or
       controversies concerning the lawfulness or reasonableness of any act, or exercise
       or any right concerning any collateral securing the Note or covered by this
       instrument, including any claim to rescind, reform, or otherwise modify any
       agreement relating to the collateral securing the Note or covered by this
       instrument, shall also be arbitrated, provided however, that no arbitrator shall
       have the right or the power to enjoin or restrain any act of any party. Judgment
       upon any award rendered by an arbitrator may be entered in any court having
       jurisdiction. The statute of limitations, estoppel, waiver, laches, and similar
       doctrines which would otherwise be applicable in an action brought by a party
       shall be applicable in any arbitration proceeding, and the commencement of an
       arbitration proceeding shall be deemed the commencement of an action for these
       purposes. The Federal Arbitration Act shall apply to the construction,
       interpretation, and enforcement of this arbitration provision. If the Federal
       Arbitration Act is inapplicable to any such claim or controversy for any reason,
       such arbitration shall be conducted in accordance with this arbitration provision
       and the Commercial Arbitration Rules of the American Arbitration Association.

       12.     Various defaults or events of default under the Note have occurred and are

   continuing (collectively, the “Events of Default”) as outlined below.

       13.     The Maturity Date under the Note was November 30, 2020.
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   14.     In violation of the Loan Documents, Tonnelle has failed to repay the loan in full

on the Maturity Date of the Note (the “Maturity Default”).

   15.     By letter dated December 1, 2020, Tonnelle was notified of the Maturity Default

(the “Default Letter”).

   16.     The Maturity Default occurred on November 30, 2020 and Tonnelle has been in

default since at least such date.

               ARBITRAL PROCEDURAL HISTORY AND AWARD

   17.     Tonnelle disputed certain of the events of default noticed by the Petitioner.

Tonnelle commenced an arbitration captioned as Tonnelle North Bergen, LLC v. SB PB

Victory, L.P., AAA No. 01-20-0015-8668 (the “Arbitration”) which is seated in Colorado

and to which Tonnelle, Verrichia and the Petitioner are parties.

   18.     By Initial Award on Phase I entered in the Arbitration on April 23, 2022, the

Arbitrator determined that Tonnelle and Verrichia breached the Loan Documents as a result

of the Maturity Default. A true and correct copy of the Initial Award issued on April 23,

2022 is attached hereto and incorporated by reference as Exhibit B.

   19.     The Arbitrator further determined that Tonnelle and Verrichia jointly and

severally owed Petitioner an amount of no less than $19,335,976.29 as of January 5, 2022

under the Loan Documents.

   20.      By Order On Respondents Motion To Sever Award On Phase 1 entered in the

Arbitration on August 30, 2022, the arbitrator confirmed the Initial Award (see supra) is a

Partial Final Award for all purposes (and counsel for all parties acknowledge the intention

that such Partial Final Award) which, among other things, can be confirmed by an

appropriate court and that with “no additional steps are necessary.” A true and correct copy
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of the Order dated August 30, 2022 is attached hereto and incorporated by reference as

Exhibit C.

     21.     Thereafter, the Arbitrator further issued its Order On Respondents Application

For Fees And Costs dated October 12, 2022 in which the Arbitrator awarded fees in the

amount of $397,241.28 as the outstanding and unreimbursed fees and costs awarded to the

Petitioner as the “prevailing party“ in Phase I of the Arbitration. A true and correct copy of

the Order dated October 12, 2022 is attached hereto and incorporated by reference as Exhibit

D.

     22.     Finally, Order On Respondent’s Request For Notarization Of Interim Award And For

Clarification Regarding Default Interest entered on November 7, 2022 (the April 23, 2022, the

August 30, 2022, the October 12, 2022 and the November 7, 2022 orders constitute the “Final

Award”), the Arbitrator held that, under the Phase I Award, Petitioner “is entitled to default

interest [i.e., at an interest rate of 15% per annum in the event of default] or the entire time period

past the maturity date, regardless of when that occurs, including the post-award or post-judgment

periods. A true and correct copy of the Order dated November 7, 2022 is attached hereto and

incorporated by reference as Exhibit E.

     23.     More than 30-days has passed since the Final Award has been issued and served

on Respondent, but no payment (of any amount) has been made to Petitioner.

     24.     Respondent has not challenged the Final Order in any way.

     25.     Pursuant to 9 U.S.C. § 9, this Petition is timely brought within one year of the delivery of

the Final Award to Petitioner.

     26.     The Final Award has not been vacated, modified or corrected by order of any court of

competent jurisdiction and is still in full force and effect.
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   27.   Pursuant to 9 U.S.C. § 9, Petitioners are entitled to a judgment confirming the Final

Award.

                                      RELIEF SOUGHT

   28.   In this action, Petitioner seeks all of the following in judgment:

         a.         Confirmation of the Final Award of the Arbitrator by way of a Judgment

         entered in favor of Petitioner and against Respondents, awarding the following

         relief:

                   i.   Affirming the Final Award of the Arbitrator;

               ii.      Awarding Petitioner $19,335,976.29 as of January 5, 2022 under the

                        Loan Documents.

              iii.      Awarding Petitioner $397,241.28 as the outstanding and unreimbursed

                        fees and costs awarded to the Petitioner as the “prevailing party”

              iv.       Awarding post-award interest at the rate specified in the Final Award

                        [i.e., 15%] calculated from January 5, 2022 to the date judgment is

                        entered upon this Petition;

         b.         Awarding to Petitioner additional fees incurred in the continuing collection

         efforts which now include this action, inclusive of attorneys’ fees and costs incurred

         in filing this action, in an amount to be certified to this Court by supplemental

         application; and

         c.         Awarding post-judgment interest at the rates specified in the Final Award

         upon the total amount in judgment from the time judgment is entered until it is paid,

         in full, by Respondents.
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       WHEREFORE, Petitioner respectfully moves this Court to proceed expeditiously and

without a hearing under FED. R. CIV. P. 78 and to enter an order confirming the Final Award and

awarding such other relief as this Court may deem equitable and just.

                                                    REED SMITH LLP


                                                      /s/ Derek J. Baker
                                                    Derek J Baker
                                                    Three Logan Square, Suite 3100
                                                    1717 Arch Street
                                                    Philadelphia, PA 19103
                                                    215-851-8100

                                                    Attorneys for Petitioner

Dated: December 19, 2022
